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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12    SHAMAR JACKSON,                         Case No.: 2:20-cv-07192-DSF-PD
13               Plaintiff,                   Hon. Dale S. Fischer
14        v.
15                                            ORDER FOR DISMISSAL WITH
      FATT CAT LLC, a California Limited      PREJUDICE
      Liability Company; and Does 1-10,
16
                 Defendants.                  Action Filed: August 10, 2020
17                                            Trial Date: Not on Calendar
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                      [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:20-cv-07192-DSF-PD Document 36 Filed 03/26/21 Page 2 of 2 Page ID #:158



 1          Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2    it, and being fully advised finds as follows:
 3          IT IS ORDERED THAT:
 4          Plaintiff Shamar Jackson’s action against Defendant FATT CAT LLC is dismissed
 5    with prejudice. Each party will be responsible for its own fees and costs.
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            IT IS SO ORDERED.
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      DATED: March 26, 2021
 9
                                              Honorable Dale S. Fischer
10                                            UNITED STATES DISTRICT JUDGE
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                        [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
